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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA


                                      CIVIL MINUTES – GENERAL

 Case No.    LA CV 18-02483 JAK (Ex)                                           Date        July 15, 2019
 Title       Jonathan Carmel v. Mizuho Bank, Ltd., et al.




 Present: The Honorable           JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

         Daisy Rojas and Andrea Keifer                                      Miriam Baird
                  Deputy Clerk                                      Court Reporter / Recorder
          Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                  John A. Lawson                                         Peter C. Bronstein


 Proceedings:       DEFENDANT MARK KARPELES’S MOTION TO DISMISS (DKT. 53)

                    SCHEDULING CONFERENCE

The hearing on the Motion is held. The Court states its tentative views that it is inclined to grant in part
Motion as to the class claims, and deny it in in part as to the individual claims. The Court also raises
issues as to the amount in controversy and as to certain bankruptcy proceedings. These issues affect a
determination of whether there is jurisdiction and whether the matter is subject to a stay or other
processes due to the bankruptcy proceedings.

Counsel address the Motion as well as the issues raised by the Court. As to the latter, they do not have
definitive responses. Because a determination whether there is a basis to proceed with a decision on
the Motion is affected by the issues raised by the Court, counsel are directed to file supplemental
briefing on both issues. By July 29, 2019, each party shall file a brief, not to exceed five pages,
regarding the amount in controversy with respect to Plaintiff’s individual claims and whether it exceeds
$75,000. The parties shall do the same by August 12, 2019 as to the effect, if any, on this action of the
pending bankruptcy proceedings as to Defendant Karpeles in Japan (Tokyo District Court No. 9170), as
to Mt. Gox in the Northern District of Texas (In re Mt. Gox, No. 14-31229 (Bankr. N.D. Tex.)) and as to
Tibanne KK in the Southern District of New York (In re Tibanne Co., No. 15-10255 (Bankr. S.D.N.Y.)).
Upon receipt of the supplemental filings, the Motion will be taken UNDER SUBMISSION.

The scheduling conference is deferred until determinations are made as to subject matter jurisdiction
and whether this action is subject to a stay or if the claims are subject to other processes due to the
bankruptcy proceedings.

IT IS SO ORDERED.
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